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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 RODRICK LAMONT HEMINGWAY,

       Petitioner,

 v.                                                 CASE NO. 8:19-mc-45-T-02CPT

 UNITED STATES DISTRICT COURT
 MIDDLE DISTRICT OF FLORIDA,

       Respondent.
                                            /

                                      ORDER

       This cause comes before the Court on a “Motion to Stay All Proceedings

 Until Application for Transfer of Action” (Dkt. 1). The motion refers to a

 conviction entered in the Circuit Court in Broward County, Florida, which is

 located in the United States District Court, Southern District of Florida.1 The

 Petitioner is currently confined at the Everglades Correctional Institution in

 Miami, Florida, located in the Southern District of Florida.

       Although this is not a federal habeas corpus petition, which may be filed

 either in the District of the state conviction or where the petitioner is confined, see


       1
         The case numbers cited in the motion refer to a conviction that was affirmed on
 appeal by the Florida Fourth District Court of Appeal. Hemingway v. Florida, 613 So. 2d
 942 (Fla. 4th DCA 1993) (affirming judgment of conviction and sentence but remanding
 to consider restitution after notice and hearing).
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 28 U.S.C. § 2241(d), the pending motion, which was opened as a miscellaneous

 case, appears to seek a stay to effect a transfer, perhaps of some matter concerning

 his conviction from the state court system to the federal court system. A Westlaw

 search reveals that earlier this year, the Florida Supreme Court dismissed his case.

 Hemingway v. Florida, No. SC19-319, 2019 WL 962457 (Fla. Feb. 28, 2019)

 (dismissing review of district court of appeal decision issued without opinion).

 Petitioner is a person in custody under judgment and sentence of Florida. The

 Southern District would be the federal court, if any, that might have jurisdiction to

 consider Petitioner’s request. This Court may transfer this case to the Southern

 District for consideration there. See 28 U.S.C. § 2241(d).

       Accordingly, the Clerk shall immediately forward the case file to the United

 States District Court, Southern District of Florida, for all further proceedings,

 terminate any pending motions, and close the case.

       DONE AND ORDERED at Tampa, Florida, on June 26, 2019.



                                           s/William F. Jung
                                         WILLIAM F. JUNG
                                         UNITED STATES DISTRICT JUDGE




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